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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

JANE DOE,                                         *

       Plaintiff,                                 *

v.                                                *           Civ. No. DLB-25-1523

DEPARTMENT OF VETERANS                            *
AFFAIRS, et al.,
                                                  *
       Defendants.
                                                  *

                                   MEMORANDUM ORDER

       On May 12, 2025, Jane Doe, a “combat disabled veteran,” filed a complaint in this Court

against the Department of Veterans Affairs, the Administrative Office of the U.S. Courts,

Friendship Place, Equity Residential, Bozzuto Management Co. (“Bozzuto”), six judges in the

federal and D.C courts, six federal court clerks, and several John and Jane Doe defendants. ECF

1-3. Doe alleges that Equity Residential and Bozzuto colluded to deny accommodations for her

disabled husband and, after that, all the defendants colluded to obstruct her access to the courts.

She claims her efforts to have her claims heard have been thwarted in multiple courts, and she asks

this Court to right that perceived wrong. The Court has reviewed Doe’s complaint, motion for

leave to proceed in forma pauperis, motion to proceed under pseudonym, emergency motion for

injunctive and structural relief, motion to oppose anticipated defenses, emergency motion to file

material under seal, motion to file declaration of “true identity” under seal, and the attachments to

these motions. ECF 1, 3–10. Her motions to proceed in forma pauperis, to proceed under a

pseudonym, and to seal are granted. Because the Court cannot grant the relief Doe seeks in her

complaint, the Court dismisses the complaint and denies the remaining motions as moot.
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   I.      Background

        Doe and her husband are both disabled veterans, and they have five minor children. Doe

homeschools her children and is her husband’s caregiver. Equity Residential, which formerly

owned the property where Doe and her family were living, had granted an accommodation for

Doe’s disabled husband, but it then transferred the property to Bozzuto without ensuring that

Bozzuto would provide the same accommodation. ECF 1-3, at 12. Bozzuto failed to accommodate

Doe’s disabled husband and “deliberate[ly] obstruct[ed] federal disability rights by

misrepresenting its legal authority and obligations.” Id. at 10. Doe “reported concerns about

discrimination, unsafe housing, administrative neglect, and systemic failure within their

operations” to Friendship Place, “a federally funded housing grantee and lead SSVF (Supportive

Services for Veteran Families) provider.” Id. at 9. In response, Friendship Place retaliated by

revoking services, “misusing confidential disclosures to support litigation targeting,”

“[c]oordinating with counsel and federal actors to suppress filings,” and defaming her. Id. at 9–10.

        Doe reported Friendship Place’s failure to accommodate her family’s housing needs,

Friendship Place retaliated against her, and she sued Friendship Place. ECF 1, at 7. Doe alleges

that the Department of Veterans Affairs unlawfully removed her case from D.C. Superior Court,

“obstruct[ed] . . . protected legal filings; and interfere[d] in medical, legal, and emergency access

rights guaranteed to disabled veterans under federal laws.” ECF 1-3, at 7. The judges assigned to

her case dismissed her complaint and emergency filings, refused to consider evidence, delayed

ruling or refused to rule on motions she filed in their courts, unsealed documents she sought to file

under seal, refused to allow her to proceed under a pseudonym, threatened sanctions, and

demanded that she follow “the ‘correct’ process” for her filings. Id. at 13–17, 21, 23, 24. She

claims the clerks returned her filings to her, issued show cause orders, denied her electronic access




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to the docket, and humiliated her (although she does not say how), id. at 18–20, 25–26, and the

Administrative Office of the U.S. Courts allowed all this to happen, id. at 8. She also alleges that

“additional unidentified or shielded federal actors,” including “clerical supervisors, administrative

officers, legal advisors, federal court staff, and agency liaisons,” “contributed to the obstruction,

retaliation, and civil rights violations” by rerouting filings, “[s]uppress[ing] or ignor[ing]

emergency motions, trauma declarations, and judicial misconduct allegations,” and misapplying

the courts’ procedural rules. Id. at 27.

         Doe claims the defendants’ conduct violated her right of access to the courts, her due

process rights, and her equal protection rights under the First, Fifth, and Fourteenth Amendments

of the U.S. Constitution and violated 42 U.S.C. § 1983, Titles II and III of the Americans with

Disabilities Act (“ADA”) (42 U.S.C. § 12132), the Rehabilitation Act (29 U.S.C. § 794), and the

Fair Housing Act (“FHA”) (42 U.S.C. § 3617). Doe seeks declaratory and emergency injunctive

relief as well as compensatory and punitive damages.

   II.      Discussion

         Title 28 U.S.C. § 1915(a)(1) permits an indigent litigant to commence an action in this

Court without prepaying the filing fee. To guard against possible abuses of this privilege, the

statute requires dismissal of any claim that is frivolous, malicious, or fails to state a claim on which

relief may be granted. 28 U.S.C. §§ 1915(e)(2)(B)(i) and (ii), 1915A(b). A claim “is frivolous

where it lacks an arguable basis either in law or in fact.” Neitzke v. Williams, 490 U.S. 319, 325

(1989), superseded by statute on other grounds as noted in Quartey v. Obama, No. PJM-15-567,

2015 WL 13660492, at *1 (D. Md. Mar. 4, 2015).

         “[P]ro se filings are ‘h[e]ld to less stringent standards than formal pleadings drafted by

lawyers.’” Folkes v. Nelsen, 34 F.4th 258, 272 (4th Cir. 2022) (quoting Haines v. Kerner, 404 U.S.




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519, 520 (1972)). Accordingly, the Court must construe pro se pleadings liberally. Bing v. Brivo

Sys., LLC, 959 F.3d 605, 618 (4th Cir. 2020). But “liberal construction does not require [the Court]

to attempt to ‘discern the unexpressed intent of the plaintiff[;]’” the Court need only “determine

the actual meaning of the words used in the complaint.” Williams v. Ozmint, 716 F.3d 801, 805

(4th Cir. 2013) (quoting Laber v. Harvey, 438 F.3d 404, 413 n.3 (4th Cir. 2006) (en banc)). Thus,

a pro se complaint “still ‘must contain enough facts to state a claim for relief that is plausible on

its face.’” Thomas v. The Salvation Army S. Territory, 841 F.3d 632, at 637 (4th Cir. 2016) (quoting

King v. Rubenstein, 825 F.3d 206, 212, 214 (4th Cir. 2016) (quoting Twombly, 550 U.S. at 570)).

       A. Claims Against Judges and Clerks

       Judges Randolph D. Moss, Sparkle L. Sooknanan, Katherine E. Oler, Patricia Tolliver

Giles, Ivan D. Davis, and Christopher R. Cooper are judges whom Doe is suing for decisions made

in their judicial capacity, and Robert Meek, Judith Lanham, Dana van Metre, Erica M. Thorner,

Clifton B. Cislak, and Catherine J. Lavender are clerks whom Doe is suing for decisions made in

their capacity as clerks of the courts. Doe’s claims against the judges and their clerks are barred

by the doctrine of judicial immunity. See Gibson v. Goldston, 85 F.4th 218, 223 (4th Cir. 2023).

“Judicial immunity . . . not only protects judges from ultimate liability in a case, but also serves as

a complete bar to suit. It applies even to judicial acts ‘flawed by the commission of grave

procedural errors,’ and protects even actions ‘alleged to have been done maliciously or corruptly.’”

Id. (quoting Stump v. Sparkman, 435 U.S. 349, 359 (1978), and then quoting Bradley v. Fisher, 80

U.S. (13 Wall.) 335, 351 (1872); citing Mireles v. Waco, 502 U.S. 9, 11 (1991) (per curiam)); see

also Foster v. Fisher, 694 F. App’x 887, 888 (4th Cir. 2017) (per curiam) (“Judges are absolutely

immune from suit for a deprivation of civil rights [under 42 U.S.C. § 1983] for actions taken within

their jurisdiction”) (alteration and quotation omitted). The one limitation on this immunity is that




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“judges are not protected if they act in the ‘clear absence of all jurisdiction over the subject-matter’

or when they engage in nonjudicial acts.” Gibson, 85 F.4th at 223 (quoting Bradley, 80 U.S. (13

Wall.) at 351; citing Stump, 435 U.S. at 360). “Similarly, court clerks enjoy derivative absolute

judicial immunity when they act in obedience to a judicial order or under the court's direction.”

Hamilton v. Murray, 648 F. App’x 344, 345 (4th Cir. 2016) (citing McCray v. Maryland, 456 F.2d

1, 5 (4th Cir. 1972)). Because Doe provides no grounds to defeat the judicial immunity that applies

to the defendant judges’ determinations and the clerk’s actions in her cases in other courts, the

claims against the judges and clerks are dismissed with prejudice.

        B. Claims for Violations of Constitutional Rights

        Under Section 1983, a plaintiff may file suit against any person who, acting under color of

state law, “subjects, or causes to be subjected, any citizen of the United States or other person

within the jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured

by the Constitution and laws” of the United States. 42 U.S.C. § 1983. Section 1983 “is not itself a

source of substantive rights, but merely provides ‘a method for vindicating federal rights elsewhere

conferred.’” Albright v. Oliver, 510 U.S. 266, 271 (1994) (quoting Baker v. McCollan, 443 U.S.

137, 144 n.3 (1979)); Wahi v. Charleston Area Med. Ctr., 562 F.3d 599, 615 (4th Cir. 2009). Two

elements are essential to state a claim under § 1983: (1) plaintiff must have suffered a deprivation

of “rights, privileges or immunities secured by the Constitution and laws” of the United States;

and (2) the act or omission causing the deprivation must have been committed by a person acting

under color of law. West v. Atkins, 487 U.S. 42, 48 (1988).

        Neither the Administrative Office of the U.S. Courts nor the D.C. Circuit Court Clerk’s

Office is a “person” subject to suit under 42 U.S.C. § 1983. Several courts have held that inanimate

objects such as buildings, facilities, and grounds do not act under color of state law and are not




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subject to suit under § 1983. See Oliva v. Boyer, 163 F.3d 599 (4th Cir. 1998) (Table) (“[T]he

Defendant court system is not a person as defined by 42 U.S.C.A. § 1983 . . . .”); Mumford v.

Zieba, 4 F.3d 429, 435 (6th Cir. 1993) (“[A] state court is not a ‘person’ within the meaning of

that term as used in § 1983 . . . .”). Therefore, Doe’s § 1983 claims against the Administrative

Office of the U.S. Courts or the D.C. Circuit Court Clerk’s Office for violations of her

constitutional rights are dismissed with prejudice.

       The Department of Veterans Affairs, Friendship Place, Equity Residential, and Bozzuto

Management Co. are not subject to liability under § 1983 because they are not state actors. “[A]

person acts under color of state law ‘only when exercising power possessed by virtue of state law

and made possible only because the wrongdoer is clothed with the authority of state law.’” Polk

County v. Dodson, 454 U.S. 312, 317–18 (1981) (quoting United States v. Classic, 313 U.S. 299,

326 (1941)). “[P]rivate activity will generally not be deemed state action unless the state has so

dominated such activity as to convert it to state action: Mere approval of or acquiescence in the

initiatives of a private party is insufficient.” Philips v. Pitt Cnty. Mem’l Hosp., 572 F.3d 176, 181

(4th Cir. 2009) (citations and internal quotation marks omitted). Doe does not allege that the state

has granted any of these defendants authority to act on its behalf or that the state dominated their

actions. Therefore, she fails to state a § 1983 claim against these defendants. These § 1983 claims

are dismissed without prejudice.

       C. Statutory Claims

       The claims under the ADA, Rehabilitation Act, and FHA cannot proceed. Title II of the

ADA prohibits discrimination by a public entity against an individual because of his or her

disability. Wicomico Nursing Home v. Padilla, 910 F.3d 739, 750 (4th Cir. 2018). The law

provides that “no qualified individual with a disability shall, by reason of such disability, be




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excluded from participation in or be denied the benefits of the services, programs, or activities of

a public entity, or be subjected to discrimination by any such entity.” 42 U.S.C. § 12132. The term

“public entity” means “(A) any State or local government; (B) any department, agency, special

purpose district, or other instrumentality of a State or States or local government; and (C) the

National Railroad Passenger Corporation, and any commuter authority . . . .” Id. § 12131(1).

“Claims under the ADA’s Title II and the Rehabilitation Act can be combined for analytical

purposes because the analysis is ‘substantially the same.’” Seremeth v. Bd. of Cnty. Comm’rs

Frederick Cnty., 673 F.3d 333, 336 (4th Cir. 2012) (quoting Doe v. Univ. of Md. Med. Sys. Corp.,

50 F.3d 1261, 1265 n.9 (4th Cir. 1995)). Title III of the ADA prohibits discrimination against

individuals “on the basis of disability in the full and equal enjoyment of the goods, services,

facilities, privileges, advantages, or accommodations of any place of public accommodation by

any person who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a). “To prevail under Title III of the ADA, a plaintiff must show that: (1) he is

disabled within the meaning of the ADA; (2) the defendant owns, leases, or operates a place of

public accommodation; and (3) the defendant discriminated against him because of his disability.”

J.D. ex rel. Doherty v. Colonial Williamsburg Found., 925 F.3d 663, 669–70 (4th Cir. 2019). The

FHA prohibits discrimination “against any person in the terms, conditions, or privileges of [the]

sale or rental of a dwelling . . . because of a handicap of . . . that person.” 42 U.S.C.

§ 3604(f)(2)(A). To state an FHA claim, a plaintiff must plausibly allege that they had a handicap,

that the defendant took an adverse action against them, and that the defendant did so “‘because of’

[their] handicap.” Thomas v. The Salvation Army of S. Territory, 841 F.3d 632, 639 (4th Cir. 2016)

(quoting § 3604(f)(2)(A)); see also Reyes v. Waples Mobile Home Park Ltd. P’ship, 903 F.3d 415,

421 (4th Cir. 2018).




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          Doe’s claims fail because she does not allege she was denied benefits or that an adverse

action was taken against her because of her disability; she claims that her husband was denied

disability accommodations. To bring claims on behalf of her husband, who is not a party to this

litigation, Doe “must demonstrate: (1) an injury-in-fact; (2) a close relationship between herself

and [her husband]; and (3) a hindrance to [her husband’s] ability to protect his . . . own interests.”

Freilich v. Upper Chesapeake Health, Inc., 313 F.3d 205, 215 (4th Cir. 2002) (citing Powers v.

Ohio, 499 U.S. 400, 410–11 (1991))). Does has not alleged that her husband cannot protect his

own interests. Consequently, she has not shown that she has standing to sue on his behalf. See id.

She fails to state an ADA, Rehabilitation Act, or FHA claim. She also fails to state an ADA or

Rehabilitation Act claim for the additional reason that none of these defendants qualifies as a

public entity. Her FHA claim is dismissed without prejudice, and her ADA and Rehabilitation Act

claims are dismissed with prejudice.

   III.      Conclusion

          Doe’s claims are dismissed for failure to state a claim. Doe states she filed suit in this Court

because other courts have not allowed her to pursue similar, if not identical, claims. As a result,

even if Doe had stated a claim, these claims may be blocked by collateral estoppel or res judicata

because the earlier court rulings may preclude re-litigation of the claims or issues.

          Accordingly, it is this 14th day of May, 2025, by the United States District Court for the

District of Maryland, hereby ORDERED that:

          1. Doe’s motion for leave to proceed in forma pauperis, ECF 3, IS GRANTED;

          2. Doe’s motion to proceed under pseudonym, ECF 4, IS GRANTED;

          3. The § 1983 claims against the Department of Veterans Affairs, Friendship Place,

             Equity Residential, and Bozzuto Management Co. and the FHA claim against the




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   defendants who are neither judges nor clerks ARE DISMISSED without prejudice, and

   all other claims ARE DISMISSED with prejudice;

4. Doe’s emergency motion for injunctive and structural relief, ECF 5, IS DENIED AS

   MOOT;

5. Doe’s motion to oppose anticipated defenses, ECF 6, IS DENIED AS MOOT;

6. Doe’s emergency motion to file material under seal, ECF 7, IS GRANTED;

7. Doe’s motion to file declaration of “true identity” under seal, ECF 9, IS GRANTED;

8. The Clerk shall PROVIDE a copy of this Order to Doe; and

9. The Clerk shall CLOSE this case.



                                           ____________________________
                                           Deborah L. Boardman
                                           United States District Judge




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